United States District Court
Middle District of Tennessee

Office of the Clerk
800 United States Courthouse
Nashville, Tennessee 37203
(615) 736-7396

E-Mail: Joyce A Brooks(@tnmd.uscourts.gov
Web Site: www.tnmd.uscourts.gov

May 12, 2010

Clerk

U.S. District Court

Clifford Davis and Odell Horton
Federal Building

167 North Main Street, Room 242

Memphis, TN 38103

Re: TRANSMISSION OF RULE 5 DOCUMENTS

USA v. William Harness
Western District of Tennessee Case No. 10-20194
Middle District of Tennessee Magistrate Case No. 10-3028

Dear Clerk:

Enclosed please find certified copies of Rule 5 paperwork for the above-reference case.
Sincerely,

O bialbuote-

Joyce A. Brooks
Criminal Docketing Clerk

Enclosures

cc: U.S. Marshal Service

U.S. Probation Office

Case 3:10-mj-03028 Document9 Filed 05/12/10 Page 1 of 1 PagelD #: 12
